Case 2:04-cv-02525-SHI\/|-dkv Document 4 Filed 05/13/05 Page 1 of 2 Page|D 6

Fli.i“§!.`) §§ n t

IN THE UNITED sTATEs DISTRICT COURT 575 “"r"

FOR THE WESTERN DISTRICT oF TENNESSEE 655 t'i,"i;`¢’ t 3 PH 3; §§
WESTERN DIvIsIoN ‘

 

 

JAMES R. STEVENS,

Plaintiff,
VS. NO. 04-2525-Ma
FED EX,

Defendant.

 

ORDER OF DISMISSAL

 

Pro se plaintiff filed the complaint in this matter on Juiy 13, 2004 and Summons Was
issued on September 20, 2004. On February 24, 2005, the court issued an Order to Show Cause
Why this matter should not be dismissed for failure to prosecute. P]ainti ff has failed to respond to
the show cause order. The court therefore finds that this matter should be and is DISMISSED

Without prejudice

tr is so ORDERED this 13 Hday ofMay, 2005.

JA(/

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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with Rule 58 andjor 79(3) FHoP on 13

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02525 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

.l ames R. Stevens
4423 N. Crockett
Sarah, l\/lS 38665

Honorable Sarnuel Mays
US DISTRICT COURT

